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 9
                                   UNITED STATES DISTRICT COURT
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                                 NORTHERN DISTRICT OF CALIFORNIA
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     RIPPLE LABS, INC., D/B/A RIPPLE,                         Case No.: 3:16-CV-04788-JST
13   A DELAWARE CORPORATION,

14                  Plaintiff,

15          vs.

16   PIXEL LABS, INC., A DELAWARE
     CORPORATION, RAZMIG
17   HOVAGHIMIAN,

18                  Defendants.

19
     ORDER GRANTING JOINT MOTION FOR DISMISSAL WITH PREJUDICE WITH THE
20     COURT’S RETAINING JURISDICTION TO ENFORCE THE SETTLEMENT AND
                          COEXISTENCE AGREEMENT
21
            THIS CAUSE came to be heard on the joint motion filed by Plaintiff, RIPPLE LABS, INC.,
22

23   and Defendants PIXEL LABS, INC. and RAZMIG HAVAGHIMAN, providing notice to the Court

24   of a Settlement and Coexistence Agreement (“Agreement”), jointly moving the Court to dismiss this

25   case with prejudice and to retain jurisdiction to enforce the terms of the Agreement.
26          Being fully advised in the premises, it is,
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                                                          1
                            JOINT MOTION TO DISMISS: CASE NO.: 3:16-CV-04788-JST
                                                  LEGAL\28716854\1
            Case 4:16-cv-04788-JST Document 30 Filed 11/18/16 Page 2 of 2



 1   ORDERED and ADJUDGED:
 2          1.      The Court has received and accepts the parties’ Agreement, attached hereto as Exhibit
 3
     “A.”
 4
            2.      Pursuant to the terms of the Agreement, the Court Dismisses with Prejudice this
 5
     cause, but retains jurisdiction to enforce the terms of the Agreement.
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 7          3.      Each party shall bear its/his own attorney’s fees and costs, unless otherwise provided

 8   in the Agreement.

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                                                  __________________________________
12                                                UNITED STATES DISTRICT COURT
                                                  NORTHERN DISTRICT OF CALIFORNIA
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     COPIES FURNISHED TO ALL COUNSEL
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                            JOINT MOTION TO DISMISS: CASE NO.: 3:16-CV-04788-JST
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